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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


  E.K. and S.K., minors, by and through their
  parent and next friend LINDSEY KEELEY;
  O.H., S.H., and H.H., minors, by and through          Case No. 1:25-cv-00637-PTG-IDD
  their parent and next friend JESSICA
  HENNINGER; E.G., a minor, by and through              Hon. Patricia Tolliver Giles
  his parent and next friend MEGAN
  JEBELES; E.Y. and C.Y., minors, by and
  through their parent and next friend ANNA
  YOUNG; L.K., L.K., and L.K., minors, by
  and through their parent and next friend
  ANNA KENKEL; and M.T., a minor, by and
  through her parent and next friend NATALIE
  TOLLEY,

                              Plaintiffs,

  v.

  DEPARTMENT OF DEFENSE
  EDUCATION ACTIVITY; DR. BETH
  SCHIAVINO-NARVAEZ, in her official
  capacity as Director of the Department of
  Defense Education Activity; and PETER
  BRIAN HEGSETH, in his official capacity as
  Secretary of Defense,

                              Defendants.


   DECLARATION OF NATALIE TOLLEY IN SUPPORT OF PLAINTIFFS’ MOTION
                    FOR PRELIMINARY INJUNCTION

 I, Natalie Tolley, declare as follows,

        1.      I am more than 18 years old, competent to be a witness, and the facts set forth in

                this declaration are based on my own personal knowledge.

        2.      I am married to an active-duty service member stationed at the Aviano Air Base in

                Italy. My husband is in the Air Force, and he has been for the past fifteen years.

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       3.    I have a PhD in Public Health. I am currently unemployed, but I worked at Temple

             University as a researcher from 2006 to 2008.

       4.    Of my husband’s fifteen years in service, we have spent approximately half of them

             living overseas. We have been at Aviano Air Base since August 2022. Before that,

             our family was in Utah, Korea, and Colorado Springs. We’ve also spent time

             stationed at the Misawa Air Force Base in Japan from 2015 to 2018.

       5.    My daughter, M.T., was enrolled in Department of Defense Education Activity

             (DoDEA) school at Misawa and she is now in the eleventh grade at Aviano Middle-

             High School in Aviano, Italy. Aviano Middle-High School is a DoDEA school.

       6.    Our experience with DoDEA schools has generally been positive; the principal and

             teachers are usually accessible.

       7.    M.T.’s favorite class is history. She enjoys learning about ancient civilizations and

             their mythologies. M.T. loves reading and being in the library. Her favorite books

             are Percy Jackson and similar fantasy and mystery books. M.T. has enjoyed the

             wide variety of extracurricular activities available through her school – she has

             participated in three school plays, cross-country, track, soccer, choir, and violin.

             M.T. excelled in choir and she qualified for the DoDEA All-Europe Choir and

             String Ensemble.

       8.    I am similarly engaged in my children’s education. I served as the Secretary of the

             School Advisory Committee (SAC) from September 2022 to October 2023.

       9.    On March 3, 2025, I received an email from DoDEA Europe about curriculum

             changes to Advanced Placement Psychology – a course M.T. is currently enrolled

             in. The email stated that the unit covering gender was going to be removed. I



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             reached out to the course’s teacher and the principal for clarification. They were

             both surprised and informed me that they had not yet been notified of the changes.

             I continued to follow up with the principal about the pending changes to M.T.’s

             class, but did not receive additional information.

       10.   On March 6, 2025, I attended an SAC meeting. The book removal process was in

             its early stages and there was robust discussion about the decision to remove books

             based on the Executive Orders and the impact it would have on our children’s

             education and experiences. At this meeting, the principal informed all parents that

             decision-making regarding book quarantines is being done at a regional level. The

             principal said that of the twenty-two thousand books in the library, they are likely

             to remove approximately eighteen books. I think the removal of eighteen books

             simply based on President Trump’s disagreement with the ideology of these books

             is too much.

       11.   On March 7, 2025, the principal of Aviano Middle-High School sent families a

             letter from Michelle Howard-Brahaney, attached as Exhibit A. This letter informed

             parents that DoDEA was reviewing its policies and resources to ensure compliance

             with Executive Orders and DoD policies. In part, the letter stated, “[s]chools have

             completed their review of library materials, and these materials are currently being

             reviewed at the Region/ HQ levels. We are examining materials in each Information

             Center (school libraries) that may relate to gender ideology or discriminatory equity

             ideology, as defined in the Executive Order 14190, ‘Ending Radical Indoctrination

             in K-12 Schooling.’”




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               EXHIBIT A
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                                DEPARTMENT OF DEFENSE
                              EDUCATION ACTIVITY EUROPE
                                       UNIT 29649
                                    APO AE 09136-9649



                                                                             7 March 2025


 Dear Parents and Students,

 At the heart of our mission is a commitment to provide the highest quality education and we
 recognize that this goal is achieved through strong partnerships with families. Partnering with
 parents/guardians is a cornerstone of academic success. Through communication and mutual
 feedback, we work together to address the needs of each student, ensuring a comprehensive and
 effective educational experience. Our commitment to providing the best education every day,
 everywhere, is grounded in this collaboration. By aligning with parents, we create a unified
 approach that supports students' growth and achievement. Our focus remains on ensuring that
 every student receives a rigorous, high-quality education that prepares them for academic
 excellence and success in college, career, and the demands of the 21st century.

 The Department of Defense Education Activity (DoDEA) is currently reviewing its policies and
 instructional resources to ensure compliance with recent Executive Orders and Department of
 Defense (DoD) policies. As a Department of Defense entity, we are committed to adhering to the
 guidance from the President and the Secretary of Defense.

 Cultural Observances: On January 31, 2025, the Secretary of Defense issued guidance to all
 Department of Defense (DoD) components and Military Departments prohibiting the use of
 official resources to host celebrations or events related to cultural awareness months. As a DoD
 entity, DoDEA is adhering to this guidance.

 However, events that directly support Host Nation language and culture classes, international
 exchanges, or other location-based cultural education efforts will continue as planned.

 Review of Library Materials: Schools have completed their review of library materials, and
 these materials are currently being reviewed at the Region/ HQ levels. We are examining
 materials in each Information Center (school libraries) that may relate to gender ideology or
 discriminatory equity ideology, as defined in the Executive Order 14190, “Ending Radical
 Indoctrination in K-12 Schooling.” It is important to note that no materials have been
 permanently removed from our school libraries. Some materials are temporarily relocated to the
 professional collection, where they will be reviewed by our staff, region and Headquarters.
 Access to these materials is currently limited to professional staff. We are working diligently to
 complete the thoughtful review process and will provide more information soon.

 Curriculum & Instruction: DoDEA is conducting an operational compliance review of
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 curriculum resources. A small number of materials have been identified for further review. The
 use of these few items is paused until further guidance and to ensure that our curricular resources
 remain in alignment with current expectations. The small number of identified resources will not
 impact routine use of adopted materials or access to our standards. We will provide timely
 updates if any significant changes occur.

 Clubs and Extracurricular Activities: DoDEA students retain the right to organize and
 participate in non-curriculum-related student groups. DoDEA students retain the right to convene
 student-sponsored, non-curriculum-related student groups with a DoDEA employee volunteer
 non-participating sponsor, in alignment with DoDEA’s “Student Rights and Responsibilities"
 (DoDEA Administrative Instruction 1353.01, available on www.dodea.edu).

 Commitment to Open Communication: We understand that these changes may raise questions.
 We are dedicated to maintaining open and transparent communication. DoDEA Europe will
 work with you and provide updates when they are available. As questions arise, please reach out
 to your school principal, district superintendent, or me.

 Our priority remains providing a top-tier education that prepares students for success in an ever-
 changing world. The success of the DoDEA community is rooted in its people—students,
 educators, and families. We deeply appreciate your ongoing support and partnership.




                                              Michelle Howard-Brahaney, Ph.D.
                                              Director for Student Excellence
